AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Western District
                                                      __________ Districtofof
                                                                            Missouri
                                                                              __________

                    United States of America
                               v.                                          )
                      MARLIN E.SANDERS                                     )
                                                                           )    Case No: 07-00063-01-CR-W-ODS
                                                                           )    USM No: 20358-045
Date of Original Judgment:                            10/08/2008           )
Date of Previous Amended Judgment:                                         )    STEVE MOSS, AFPD
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           u DENIED. u       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of   151                     months is reduced to 121 months.                          .
                                             (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                          10/08/2008              shall remain in effect.
IT IS SO ORDERED.

Order Date:                  11/10/2011                                                         s/ Nanette K. Laughrey
                                                                                                         Judge’s signature


Effective Date:                                                                NANETTE LAUGHREY, United States District Judge
                     (if different from order date)                                                    Printed name and title



                   Case 4:07-cr-00063-BCW                      Document 219               Filed 11/10/11                Page 1 of 1
